   Case 18-15691-CMG Doc 43-17 Filed 05/08/18 Entered 05/08/18 21:30:37 Desc
Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 1 of 17




                                   Exhibit O
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 2 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 3 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 4 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 5 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 6 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 7 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 8 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381               Doc 43-17 Filed 05/08/18 Entered 05/08/18     21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
      Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 9 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 10 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 11 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 12 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 13 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 14 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 15 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 16 of 17
FILED: NASSAU COUNTY CLERK 08/30/2017 10:29 PM                                    INDEX NO. 606919/2014
          Case
NYSCEF DOC. NO. 18-15691-CMG
                 381              Doc 43-17 Filed 05/08/18 Entered 05/08/18      21:30:37
                                                                             RECEIVED      Desc08/30/2017
                                                                                        NYSCEF:
     Exhibit O - Letters from Jedidiah Perr on ACCJ letterhead signed on behalf of AC Page 17 of 17
